                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.1 Page 1 of 8



                                               Crosby S. Connolly, (SBN: 286650)
                                          1
                                               crosby@westcoastlitigation.com
                                          2    Robert L. Hyde, Esq. (SBN: 227183)
                                          3    bob@westcoastlitigation.com
                                               Joshua B. Swigart, Esq. (SBN: 225557)
                                          4    josh@westcoastlitigation.com
                                          5    Hyde & Swigart
                                               2221 Camino Del Rio South, Suite 101
                                          6    San Diego, CA 92108-3551
                                          7    (619) 233-7770
                                               (619) 297-1022
                                          8
                                          9    Attorneys for Jennifer Logan

                                         10                          UNITED STATES DISTRICT COURT
                                         11                         SOUTHERN DISTRICT OF CALIFORNIA
                                         12
                                                                                                                 '13CV1205 JAH NLS
HYDE & SWIGART




                                                    Jennifer Logan,                                    Case No: ________________
                 San Diego, California




                                         13
                                         14                              Plaintiff,                    Complaint For Damages
                                                    v.
                                         15                                                            Jury Trial Demanded
                                         16         Client Services, Inc. and Citibank,
                                                    N.A.,
                                         17
                                         18                              Defendants.

                                         19
                                         20                                             INTRODUCTION
                                         21    1.        The United States Congress has found abundant evidence of the use of
                                         22              abusive, deceptive, and unfair debt collection practices by many debt
                                         23              collectors, and has determined that abusive debt collection practices
                                         24              contribute to the number of personal bankruptcies, to marital instability, to the
                                         25              loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                         26              Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                         27              “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                         28              to insure that those debt collectors who refrain from using abusive debt

                                                ______________________________________________________________________________________________________
                                                                                               - 1 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.2 Page 2 of 8



                                          1          collection practices are not competitively disadvantaged, and to promote
                                          2          consistent State action to protect consumers against debt collection abuses.
                                          3    2.    The California legislature has determined that the banking and credit system
                                          4          and grantors of credit to consumers are dependent upon the collection of just
                                          5          and owing debts and that unfair or deceptive collection practices undermine
                                          6          the public confidence that is essential to the continued functioning of the
                                          7          banking and credit system and sound extensions of credit to consumers. The
                                          8          Legislature has further determined that there is a need to ensure that debt
                                          9          collectors exercise this responsibility with fairness, honesty and due regard
                                         10          for the debtor’s rights and that debt collectors must be prohibited from
                                         11          engaging in unfair or deceptive acts or practices.
                                         12    3.    Jennifer Logan, (“Plaintiff”), through Plaintiff's attorneys, brings this action to
HYDE & SWIGART
                 San Diego, California




                                         13          challenge the actions of Client Services, Inc., (“Client Services”), and
                                         14          Citibank, N.A., (“Citibank), collectively, (“Defendants”), with regard to
                                         15          attempts by Defendants to unlawfully and abusively collect a debt allegedly
                                         16          owed by Plaintiff, and this conduct caused Plaintiff damages.
                                         17    4.    Plaintiff makes these allegations on information and belief, with the exception
                                         18          of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                         19          Plaintiff alleges on personal knowledge.
                                         20    5.    While many violations are described below with specificity, this Complaint
                                         21          alleges violations of the statutes cited in their entirety.
                                         22    6.    Unless otherwise stated, all the conduct engaged in by Defendants took place
                                         23          in California.
                                         24    7.    Any violations by Defendants were knowing, willful, and intentional, and
                                         25          Defendants did not maintain procedures reasonably adapted to avoid any such
                                         26          violation.
                                         27
                                         28    //

                                                ______________________________________________________________________________________________________
                                                                                               - 2 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.3 Page 3 of 8



                                          1                                      JURISDICTION AND VENUE
                                          2    8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                          3          1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                          4    9.    This action arises out of Defendant's violations of the Fair Debt Collection
                                          5          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
                                          6          Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                          7          (“Rosenthal Act”).
                                          8    10.   Because Defendants conduct business within the State of California, personal
                                          9          jurisdiction is established.
                                         10    11.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                         11    12.   At all times relevant, Defendants conducted business within the State of
                                         12          California.
HYDE & SWIGART
                 San Diego, California




                                         13                                                  PARTIES
                                         14    13.   Plaintiff is a natural person who resides in the City of San Diego, State of
                                         15          California.
                                         16    14.   Client Services is located in the City of St Charles, in the State of Montana.
                                         17    15.   Citibank, N.A. is located in the City of New Castle, in the State of Delaware.
                                         18    16.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                         19          as that term is defined by 15 U.S.C. § 1692a(3).
                                         20    17.   Client Services is a person who uses an instrumentality of interstate
                                         21          commerce or the mails in a business the principal purpose of which is the
                                         22          collection of debts, or who regularly collects or attempts to collect, directly or
                                         23          indirectly, debts owed or due or asserted to be owed or due another and is
                                         24          therefore a debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                         25    18.   Plaintiff is a natural person from whom a debt collector sought to collect a
                                         26          consumer debt which was due and owing or alleged to be due and owing from
                                         27          Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                         28          1788.2(h).

                                                ______________________________________________________________________________________________________
                                                                                               - 3 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.4 Page 4 of 8



                                          1    19.   Defendants, in the ordinary course of business, regularly, on behalf of
                                          2          himself, herself, or others, engages in debt collection as that term is defined
                                          3          by California Civil Code § 1788.2(b), and are therefore debt collectors as that
                                          4          term is defined by California Civil Code § 1788.2(c).
                                          5    20.   This case involves money, property or their equivalent, due or owing or
                                          6          alleged to be due or owing from a natural person by reason of a consumer
                                          7          credit transaction. As such, this action arises out of a consumer debt and
                                          8          “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                          9                                        FACTUAL ALLEGATIONS
                                         10    21.   Sometime before September 15, 2010, Plaintiff is alleged to have incurred
                                         11          certain financial obligations with Citibank related to a Citibank Mastercard,
                                         12          Account Number ending in 5838.
HYDE & SWIGART
                 San Diego, California




                                         13    22.   These financial obligations were primarily for personal, family or household
                                         14          purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                         15          §1692a(5).
                                         16    23.   These alleged obligations were money, property, or their equivalent, which is
                                         17          due or owing, or alleged to be due or owing, from a natural person to another
                                         18          person and are therefore a “debt” as that term is defined by California Civil
                                         19          Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                         20          Civil Code §1788.2(f).
                                         21    24.   Sometime thereafter, but before September 15, 2010, Plaintiff allegedly fell
                                         22          behind in the payments allegedly owed on the alleged debt. Plaintiff currently
                                         23          takes no position as to the validity of this alleged debt.
                                         24    25.   Subsequently, but before September 15, 2010, the alleged debt was assigned,
                                         25          placed, or otherwise transferred, to Client Services for collection.
                                         26    26.   On or about September 15, 2010, Client Services mailed a dunning letter to
                                         27          Plaintiff regarding Plaintiff’s Citibank Mastercard, Account Number ending
                                         28          in 5838. A few days later, Plaintiff received that letter.

                                                ______________________________________________________________________________________________________
                                                                                               - 4 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.5 Page 5 of 8



                                          1    27.   This communication to Plaintiff was a “communication” as that term is
                                          2          defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                          3          with 15 U.S.C. § 1692g(a).
                                          4    28.   This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
                                          5          defines that phrase, and an “initial communication” consistent with Cal. Civ.
                                          6          Code § 1812.700(b).
                                          7    29.   On or about September 15, 2010, Plaintiff spoke on the phone with a
                                          8          representative of Client Services. During this September 15, 2010 phone call
                                          9          between Plaintiff and Client Services, Plaintiff and Client Services agreed that
                                         10          Plaintiff would pay off her alleged Citibank Mastercard credit card, Account
                                         11          Number ending in 5838, to Client Services, in the amount of $100 a month, to
                                         12          be automatically deducted from Plaintiff’s bank account on the 26th of each
HYDE & SWIGART
                 San Diego, California




                                         13          month by Client Services.
                                         14    30.   From September 2010 to November 2012, payments were taken by Client
                                         15          Services from Plaintiff’s bank account in the amounts of $100 and $150 per
                                         16          month.
                                         17    31.   On or about November 26, 2012, without notice to Plaintiff and while
                                         18          Plaintiff was still under the belief that Plaintiff was making monthly payments
                                         19          to Client Services, as agreed upon under Plaintiff and Client Services
                                         20          September 15, 2010 agreement, Client Services abruptly ceased taking
                                         21          automatic withdrawals from Plaintiff’s bank account.
                                         22    32.   On or about March 7, 2013, without notice to Plaintiff and while Plaintiff was
                                         23          still under the belief that Plaintiff was making monthly payments to Client
                                         24          Services, Citibank filed a lawsuit against Plaintiff, in the Superior Court of
                                         25          San Diego, Case No. 37-2013-00045751-CL-CL-CTL for the entirety of the
                                         26          alleged debt without crediting Plaintiff for her payments.
                                         27    33.   Through this conduct, Client Services used a false, deceptive, or misleading
                                         28          representation or means in connection with the collection of a debt.

                                                ______________________________________________________________________________________________________
                                                                                               - 5 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.6 Page 6 of 8



                                          1          Consequently, Client Services violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                          2          1692e(10).
                                          3    34.   Through this conduct, Citibank was collecting an amount (including any
                                          4          interest, fee, charge, or expense incidental to the principal obligation) when
                                          5          such amount was not expressly authorized by the agreement creating the debt
                                          6          or permitted by law. Consequently, Citibank violated 15 U.S.C. § 1692f(1).
                                          7    35.   Because this violated certain portions of the federal Fair Debt Collection
                                          8          Practices Act as these portions are incorporated by reference in the Rosenthal
                                          9          Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
                                         10          this conduct or omission violated Cal. Civ. Code § 1788.17.
                                         11    36.   On or about May 17, 2013, and before filing the present lawsuit, Plaintiff’s
                                         12          Counsel contacted Client Services, Inc. by telephonic communication in an
HYDE & SWIGART
                 San Diego, California




                                         13          attempt to resolve this matter. Plaintiff’s Counsel spoke to Victor Deone, a
                                         14          representative of Client Services. Victor Deone represented that Client
                                         15          Services was unwilling to discus correcting the debt at issue.
                                         16
                                         17                                           CAUSES OF ACTION
                                         18                                                  COUNT I
                                         19                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                         20                                       15 U.S.C. §§ 1692 ET SEQ.
                                         21                                       (AS TO CLIENT SERVICES)
                                         22    37.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                         23          paragraphs.
                                         24    38.   The foregoing acts and omissions constitute numerous and multiple violations
                                         25          of the FDCPA, including but not limited to each and every one of the above-
                                         26          cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                         27    39.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                         28          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

                                                ______________________________________________________________________________________________________
                                                                                               - 6 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.7 Page 7 of 8



                                          1           an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                          2           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                          3           Client Services.
                                          4                                                 COUNT II
                                          5          ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
                                          6                                  CAL. CIV. CODE §§ 1788-1788.32
                                          7                                      (AS TO ALL DEFENDANTS)
                                          8    40.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                          9           paragraphs.
                                         10    41.    The foregoing acts and omissions constitute numerous and multiple violations
                                         11           of the Rosenthal Act, including but not limited to each and every one of the
                                         12           above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
HYDE & SWIGART
                 San Diego, California




                                         13    42.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
                                         14           entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);
                                         15           statutory damages for a knowing or willful violation in the amount up to
                                         16           $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
                                         17           fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendants.
                                         18
                                         19    //
                                         20    //
                                         21    //
                                         22    //
                                         23    ///
                                         24    //
                                         25    //
                                         26    //
                                         27    //
                                         28    //

                                                ______________________________________________________________________________________________________
                                                                                               - 7 of 8 -
                                              Case 3:13-cv-01205-JAH-NLS Document 1 Filed 05/21/13 PageID.8 Page 8 of 8



                                          1                                          PRAYER FOR RELIEF
                                          2    WHEREFORE, Plaintiff prays that judgment be entered against Defendants, and
                                          3    Plaintiff be awarded damages from Defendants, as follows:
                                          4          •       An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                          5                  1692k(a)(2)(A);
                                          6          •       An award of costs of litigation and reasonable attorney’s fees, pursuant
                                          7                  to 15 U.S.C. § 1692k(a)(3);
                                          8          •       An award of actual damages pursuant to California Civil Code §
                                          9                  1788.30(a);
                                         10          •       An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
                                         11                  § 1788.30(b);
                                         12          •       An award of costs of litigation and reasonable attorney’s fees, pursuant
HYDE & SWIGART
                 San Diego, California




                                         13                  to Cal. Civ. Code § 1788.30(c).
                                         14    43.   Pursuant to the seventh amendment to the Constitution of the United States of
                                         15          America, Plaintiff is entitled to, and demands, a trial by jury.
                                         16
                                         17    Respectfully submitted,
                                                                                                        Hyde & Swigart
                                         18
                                         19
                                               Date: May 21, 2013                                 By:s/ Crosby S. Connolly
                                         20
                                                                                                     Crosby S. Connolly
                                         21                                                         Attorneys for Plaintiff
                                         22
                                         23
                                         24
                                         25
                                         26
                                         27
                                         28

                                                ______________________________________________________________________________________________________
                                                                                               - 8 of 8 -
